135 F.3d 765
    Arthur Mouradv.City of Union City, Official Capacity, Private Capacity,Heidi Mirasola, Official Capacity, Private Capacity, DonMichelson, Official Capacity, Private Capacity, John Doe #1,Official Capacity, Private Capacity, John Doe #2, OfficialCapacity, Private Capacity, Hudson County Collision, Inc.,John Dow Tow Truck Driver
    NO. 97-5391
    United States Court of Appeals,Third Circuit.
    Dec 16, 1997
    
      Appeal From:  D.N.J. ,No.9605997 ,
      Politan, J.
    
    
      1
      Affirmed.
    
    